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  1    UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK
  2    --------------------------------x
                                                09 CR 466(BMC)
  3    UNITED STATES OF AMERICA
                                                United States Courthouse
  4            versus                           Brooklyn, New York

  5    JOAQUÍN ARCHIVALDO GUZMÁN LOERA,
                                                February 5, 2019
  6                   Defendant.                9:30 a. m.
       --------------------------------x
  7
                  TRANSCRIPT OF CRIMINAL CAUSE FOR JURY TRIAL
  8                   BEFORE THE HONORABLE BRIAN M. COGAN
                         UNITED STATES DISTRICT JUDGE
  9

 10                                  APPEARANCES

 11

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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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                                                                         7065


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 21    Reported by:

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       OFFICIAL COURT REPORTER
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       Proceedings recorded by mechanical stenography.          Transcript
 25    produced by computer-aided transcription.
                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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  1    (In open court, outside the presence of the jury at 1:40 p.m.)

  2              THE CLERK:    All rise.

  3              THE COURT:    Be seated, please.

  4              Court Exhibit Number 6 is a note from the jury, asking

  5    for four things:     First, can we please hear the phone call

  6    601F-BT, page two, regarding quote, ice, unquote; second,

  7    requesting Rey Zambada's testimony regarding Chespiro; third,

  8    requesting testimony for Alex Cifuentes Villa; fourth,

  9    requesting testimony for Jorge Cifuentes Villa.

 10              Now, I assume the parties can agree on the phone call

 11    they're looking for, even if they didn't get the number right,

 12    because I think we know what that is.        And we can bring them in

 13    here to play that.

 14              Rey Zambada's testimony, I think I know what they're

 15    talking about, but I'm going to leave it to the parties to

 16    agree on what should be given to the jury.

 17              And then, the entirety, it appears, of the testimony

 18    for the two Cifuentes Villas.       Now, the only thing with that

 19    is, it is usually my practice when the jury wants a readback to

 20    give them a readback; however, if they really want the

 21    testimony from those two witnesses, we're probably talking

 22    about four to five days of readback.

 23              MR. LICHTMAN:     Judge, I don't think that's the case

 24    because it was done with an interpreter.         So if it's a full day

 25    of testimony, it's really half a day.
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                        Official Court Reporter
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  1              THE COURT:    Well, I'll tell you what.       You all put it

  2    together.    Let me look at the volume.      We'll then make an

  3    estimate on whether it will take more than -- really, I won't

  4    keep them here re-listening to testimony for more than an hour.

  5    I'm probably going to give it to them if it takes more than

  6    that, but let's see how much it is and we'll make that

  7    determination once you have it compiled.

  8              MR. LICHTMAN:     Thank you.

  9              THE COURT:    Let Ms. Clarke know as soon as you get

 10    everything together.     Thank you.

 11              (Recess.)

 12    (In open court, outside the presence of the jury at 3:15 p. m.)

 13              THE CLERK:    All rise.

 14              THE COURT:    Okay.    Be seated, please.

 15              This is taking too long.       I'm not sure why it took so

 16    long.   The recording, we know what the recording is.          That

 17    should take five minutes.       The first part of the testimony they

 18    want, that's a short excerpt.       That should take five minutes.

 19    And then the long excerpts are for the entire testimony.           So

 20    you just start where the witness starts testifying and end

 21    where he stops.     Why are we an hour later?

 22              MS. PARLOVECCHIO:      Your Honor, the first two things

 23    that were requested are ready to go.        It's the fact that the

 24    entire testimony of Jorge Cifuentes, entirety of Alex

 25    Cifuentes' testimony is the voluminous and also the objections
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                        Official Court Reporter
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  1    sustained all have to be redacted, as well as the sidebars.

  2              THE COURT:    Okay.

  3              MS. PARLOVECCHIO:     Actually, to help expedite that, if

  4    the Courts is amenable, if you could go back to the jury and

  5    see if they have any particular area of testimony from the

  6    Cifuenteses that they're looking for, that might help expedite

  7    the process.

  8              THE COURT:    Any objection to that?

  9              MR. LICHTMAN:     Yes.

 10              MR. BALAREZO:     Yes.

 11              MR. LICHTMAN:     Judge, they were very careful to note

 12    which part of Rey Zambada's testimony they wanted.          So they're

 13    aware that they can discern and ask you for a piece.

 14              They asked for the entirety of the readbacks to two

 15    witnesses.    That's what they want.      That's what they should

 16    get.   We shouldn't be reading the tea leaves and deciding

 17    what --

 18              THE COURT:    All right.    All right.    That's okay, Mr.

 19    Lichtman.    That's fine.

 20              MS. PARLOVECCHIO:     Your Honor, they did -- we did send

 21    an answer back to the jury yesterday saying, if you have

 22    questions about testimony concerning Methamphetamines, you're

 23    welcome to ask for that evidence.

 24              The first two items clearly relate to Methamphetamines

 25    or ice.   Both Cifuentes brothers had substantial amounts of
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                        Official Court Reporter
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  1    testimony about Methamphetamines, place and production.

  2              THE COURT:    I'm not going to read the jury's mind, but

  3    I will say to them -- the only thing I'll say to them is, we're

  4    trying to put that together.       That's an awful lot of testimony.

  5    You're going to have to be patient, and then they can have it.

  6              But I'll tell you, Mr. Lichtman, I was thinking about

  7    your comments:    Well, it took five days because there were

  8    translators.    Well, fine.    So we cut it down to three days.

  9    I'm not going to keep them sitting here for three days,

 10    listening.

 11              MR. LICHTMAN:     I understand, Judge.     I appreciate that

 12    and certainly, this is within your very broad discretion on

 13    whether you send back transcripts or read it.          If that's your

 14    determination, that's your determination.

 15              All I would ask is that before you send the

 16    transcripts back, that you give them a cautionary warning.            The

 17    reason why you are sending back the transcripts as opposed to

 18    reading it back in court, and also to tell them that they

 19    should be careful to take the transcript -- they asked for the

 20    entire transcripts -- to take them as a whole, as opposed to

 21    putting undue emphasize on perhaps --

 22              THE COURT:    I'll certainly give that instruction.

 23              In the meantime, we have got another note that makes

 24    the issue worse.

 25              Court Exhibit 8:     "Can we please get the testimony for
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                        Official Court Reporter
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  1    Juan Aguayo?    The testimony.     All the testimony."

  2              MS. PARLOVECCHIO:     We can get that fairly quickly,

  3    Your Honor.    It wasn't a very lengthy witness.

  4              THE COURT:    Oh, okay.

  5              MS. PARLOVECCHIO:     So we can work on that right now.

  6              THE COURT:    All right.     Well, let's have them in, so

  7    they know we're doing something for them.         We're ready to go

  8    with the recording and with the Rey Zambada testimony, right?

  9              MS. PARLOVECCHIO:     Yes.

 10              THE COURT:    Okay.   Let's do that.

 11              (Jury enters.)

 12              THE COURT:    All right.     Everyone be seated.

 13              We have your notes, ladies and gentlemen.         The first

 14    thing we will do is play for you the call, phone call 601F-BT

 15    page two regarding ice that you have asked for.          Let's play

 16    that.

 17              (Audio played in open court.)

 18              THE COURT:    All right.     That completes that call,

 19    ladies and gentlemen.

 20              You have next asked for the witness, Rey Zambada's,

 21    testimony regarding Chespiro.       The court reporters are going to

 22    read that back to you now.

 23       (Testimony excerpt of Jesus Reynaldo Zambada Garcia read.)

 24              THE COURT:    All right.     That completes the reading of

 25    that portion, ladies and gentlemen.
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  1               Now, you have additionally asked for the entire

  2    testimony of Alex Cifuentes Villa, Jorge Cifuentes Villa and

  3    Juan Aguayo.

  4               Because you have asked for the entire testimony,

  5    that's going to take us some time to get together, and while we

  6    get just read you this excerpt, that's so voluminous, that if

  7    we were going to read it to you, we would have you back out

  8    here for days again listening to testimony, and we don't want

  9    to do that.

 10               So what I'm going to do is once we get that testimony

 11    together, we will send it back into the jury room with you, in

 12    writing, so you'll have it in writing; however, just because

 13    it's in writing doesn't mean that you should give it anymore

 14    weight than any of the oral testimony that you recall.           It just

 15    happens to be in writing to save us time, but you have to think

 16    of it in the context of all the testimony and don't do anything

 17    that would isolate that testimony just because you have it in

 18    writing.    Everybody understand that?

 19               JURORS:   (All answer affirmatively.)

 20               THE COURT:   All right.    And then lastly, we have your

 21    note requesting to go home at 4:15, and that's okay if that's

 22    what you want to do.

 23               I will remind you now, so I don't have to bring you

 24    back into the courtroom at 4:15, not to discuss this case with

 25    anybody, not to look at any media coverage of the case, not to
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  1    do any research on the case, not to post anything on the case,

  2    and not to talk about the case once you leave that jury room,

  3    until you're all back in that jury room, all 12 of you,

  4    tomorrow morning, and then you may start your deliberations.

  5              So I won't be seeing you again tonight.         Have a very

  6    good evening.    We'll talk to you tomorrow.

  7              (Jury exits.)

  8              THE COURT:    With the parties' permission, since the

  9    alternates were not in for this, I'm going to have Ms. Clarke

 10    remind them all, so they can't talk about the case when they

 11    leave here.    They really can't talk about the case at all.          I'm

 12    not sure they haven't been here today while they have been

 13    entertaining themselves, but no one thinks I have to bring

 14    everybody back in here again, do they?

 15              MR. LICHTMAN:     No, Judge.

 16              MS. PARLOVECCHIO:     No, Your Honor.

 17              THE COURT:    All right.    Talk to you tomorrow.

 18              MR. LICHTMAN:     Thank you.

 19          (Trial adjourned to February 6, 2019, at 9:30 a. m.)

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                         Lisa Schmid, CCR, RMR
                        Official Court Reporter
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  4    Court Exhibit 6                     7067

  5    Court Exhibit 8                     7070

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                         Official Court Reporter
